
PER CURIAM.
We reverse the trial court’s non-final order, which denied appellant’s motion to vacate a default entered by the clerk.
At the time of its ruling, the trial court did not have the benefit of Casa Clara Condominium Ass’n v. Charley Toppino &amp; Sons, Inc., 620 So.2d 1244 (Fla.1993). See also Becerra v. Equity Imports, Inc., 551 So.2d 486 (Fla. 3d DCA 1989); GAC Corp. v. Beach, 308 So.2d 550 (Fla. 2d DCA 1975).
REVERSED.
DELL, C.J., and ANSTEAD and GLICKSTEIN, JJ., concur.
